      Case: 1:19-cv-05091 Document #: 48 Filed: 11/01/19 Page 1 of 2 PageID #:1370




                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 MISTER TWISTER, LLC,
                                                              Case No.: 1:19-cv-05091
          Plaintiff,
                                                              Judge Harry D. Leinenweber
 v.
                                                              Magistrate Judge Sunil R. Harjani
 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                    DEFENDANT
                  32                                       mistletoe
                  10                                     Amicablefish
                  19                                        Halibuts




DATED: November 1, 2019                       Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      111 West Jackson Boulevard, Suite 1700
                                                      Chicago, Illinois 60604
                                                      Telephone: 312-675-6079
                                                      E-mail: keith@vogtip.com
    Case: 1:19-cv-05091 Document #: 48 Filed: 11/01/19 Page 2 of 2 PageID #:1370




                                                     ATTORNEY FOR PLAINTIFF




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on November 1, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
